8:09-cr-00251-JFB-FG3        Doc # 160   Filed: 08/06/10    Page 1 of 1 - Page ID # 357




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )                8:09CR251
                    Plaintiff,            )
                                          )
             v.                           )                 ORDER
                                          )
JON WHITAKER, JR.,                        )
                                          )
                    Defendant.            )
                                          )


      This matter is before the court on the defendant’s Motion to Defer Surrender, Filing

No. 159. After review of the motion, the court grants an extension of time until on or

before September 15, 2010, in which to self-surrender to the Bureau of Prisons.

      SO ORDERED.

      DATED this 6th day of August, 2010.

                                         BY THE COURT:



                                         Joseph F. Bataillon
                                         Chief United States District Judge
